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Montana Siniff

Woodstock, OH 43084

2/19/21

Subject: Jessica Watkins Detention Hearing

To the Honorable Amit P. Mehta

         I have known Jessica for five years, four-and-a-half of which in pursuit of a romantic
relationship, about two-and-a-half in running a small business. In that time, I have come to love a person
who is attentive to the needs of others, often putting those needs ahead of her own. Whilst working
middle-management at a clothing store, she did her best to lead by example for newer employees and
continued to also put such work in herself. Retail, especially big-box retail, is notorious for both internal
strife and customer relations nightmares; we jumped at an opportunity to own and run a small-town bar
with a stable customer base. Slightly influenced by recent media, we felt that a pirate-themed bar in the
middle of a boring Ohio plain would be a successful idea; we named it the “Jolly Roger” after Calico
Jack’s banner.

         Shortly after, her EMT skills would be put to the test often; it would not be rare that the bleach
and bucket would have to come out after a neighbor would hurt themselves in some way and need
assistance, sometimes after the paramedics have already come and left. Keeping on hand extra medical
equipment in case of an injury has always been a priority for her, and helping out her customers gave
her joy. Really, helping people in general gives her joy.

         I have no doubt her intentions on the 6th, however ill-advised, were not of a destructive nature. I
doubt she would have asked me to drive her to the police station to turn herself in if she thought so
herself. Nevertheless, she has expressed remorse in leading herself and her compatriots into a legal
battle to exist free; she could not run and let those who followed her suffer consequences she herself
ought, at such a point, face.

        As noted by the FBI, we do possess a number of firearms; all of which have been transported to
a house an hour’s drive away, with multiple city departments and sheriff districts between. We have an
extra house key on the ready for a sheriff or deputy to stroll in and audit this at any time. She lives
above our bar; while perhaps bigger than most jail cells and rec-rooms, her mobility will still be highly
limited and simple to track. Further, the Jess I know would shame me for all five of the years I’d spend in
not being compliant to all these factors and turning her in at a sign of readiness to flee.

         Please, your honor, justice delayed will still be justice; she has no desire to resume militia
activities, we have taken actions already to assuage the public and the courts of any danger she might
arguably possess, and she wishes to ignore politics and focus on serving cocktails and cooking food, at a
location simple for the government to monitor. Please, let Jessica come home pending trial.

        Sincerely,

        Montana Siniff, Fiancé to the accused.
